Exhibit “C”
 1                           DECLARATION OF DR. HERMAN TULL, PH.D.

 2          I, Dr. Herman Tull, Ph.D., declare:

 3          1.      I am over eighteen years of age, and have personal knowledge of the matters stated

 4   herein, and, if called as a witness, I could and would testify competently as to the matters stated below.

 5          2.      I am making this declaration in support of the Complaint filed on behalf of myself and

 6   my wife, Dr. Lekha Tull, DDS.

 7          3.      I am a 65-year-old man who resides with my wife Dr. Lekha Tull, DDS. in Princeton,

 8   New Jersey. My wife and I have been married for forty-three (43) years, and we have lived in

 9   Princeton, New Jersey for over thirty-five (35) years. During our marriage we have raised two sons,

10   Jasha Tull, and Dr. Janak Tull, DMD.

11          4.      Jasha Tull is a performing artist and producer of electronic music, who performs

12   regularly under the stage name “Space Jesus.”

13          5.      I am a scholar of Religious Studies, and have worked in higher education for thirty-five

14   (35) years. I have been a faculty member at Rutgers University (1988-91), Princeton University (1992-

15   2005), and Lafayette College (2008-10; 2014-20). I hold a Ph.D. in the History of Religions from

16   Northwestern University, have published approximately eighty (80) academic and other related

17   publications, and am an editor of the Encyclopedia of the Bible and its Reception.

18          6.      On or about the week of July 3, 2016, Michaela Higgins was invited to visit our

19   family’s homes in Princeton, New Jersey, and Harvey Cedars, New Jersey by my son, Jasha Tull.

20   Jasha told me that he and Michaela Higgins had recently become romantically involved. Michaela was

21   pleasant, though my interactions and conversations with her were limited.

22          7.      On or about the week of September 4, 2016, Michaela Higgins arrived uninvited to our

23   vacation home in Harvey Cedars, New Jersey. My wife was present with my son Jasha. I am informed

24   and believe that Michaela Higgins proceeded to stand on our property and begin shouting loudly at us

25   while we remained in the house. I am further informed and believe that Michaela Higgins berated

26   them that Michaela and Jasha were meant to be together, and that if Jasha did not renew his and

27   Michaela’s romantic relationship, Michaela would seek to destroy Jasha personally and professionally.

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 1          8.      Despite these events, my wife offered to assist her in leaving the area by securing a

 2   change to her airline ticket, facilitating her return to the West Coast of the United States. My wife told

 3   me Michaela accepted this assistance, and her ticket was changed.

 4          9.      Numerous times in the months and years following the September 2016 incident, I am

 5   informed and believe that neighbors would state to my wife that they remembered the event, ask if we

 6   had any future contact with Michaela, and describe with specificity aspects of the event in question.

 7   My sister-in-law, Pua Lei Pilai, also has stated that she recalls the event in question vividly and has

 8   given a declaration regarding same.

 9          10.     Following this encounter, Michaela Higgins has repeatedly contacted me via email and,

10   upon information and belief, via the social media platform Instagram.

11          11.     On April 27, 2017, Michaela Higgins emailed me via the email account

12   caeli426@gmail.com. In this lengthy email, she was aggrieved over statements I had allegedly said

13   regarding her educational achievement or manner of speech, which I have not made. She went on to

14   describe a deeply unfortunate experience as the apparent victim of a violent crime and how her manner

15   of speech was attributable to such alleged experiences, and on that basis to assert that such alleged

16   statements I made were incorrect and/or wrongful. In an effort to disengage, I did not respond to this

17   email. A true and correct copy of the above-described email is attached to the Complaint as part of

18   Exhibit “F” (Communications to Dr. Herman Tull, Ph.D. from Michaela Higgins/Caeli La.)

19          12.     On four instances between December 20 and 21 of 2018, Michaela Higgins emailed me

20   via the email account caeli426@gmail.com. In these emails, true and correct copies of which are

21   attached to the Complaint as part of Exhibit “F” thereto, Ms. Higgins/Caeli La referenced previous

22   alleged statements I did not make, and further accused me of stating that she had threatened my

23   employer(s). She claimed to be seriously impacted by this claimed statement, and demanded that I

24   clarify what I had or had not said to some undefined number of persons, including her. In an effort to

25   disengage, I did not respond to these emails.

26          13.     On January 22, 2019, January 31, 2019, February 2, 2019, February 6, 2019, February

27   8, 2019, and February 15, 2019, I was “bcc’d” on emails to members of my son Jasha’s management

28   team at C3 Management, including Jay Rogovin and Erik Gietzen. These emails included discussions

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 1   of her various supposed allegations against my son Jasha. These further emails accused his

 2   management of mistreating her in various ways and demanding a statement from my son regarding the

 3   statements she falsely alleged I made about supposed threats to my employer. Erik Gietzen, Jasha’s

 4   manager, told Michaela that we had not addressed such alleged threats to my employer(s) on a

 5   previous call with C3 Management, and preliminarily suggested that I write a statement that she had

 6   not, to my knowledge, threatened my former employer(s). This offer was apparently not accepted.

 7   These emails further accused me of violating her privacy by forwarding her past communications to

 8   me to C3 Management, despite no request whatsoever that the statements be held in confidence.

 9   Michaela’s repeated forwarding of these emails to me, including her in depth conversations and

10   repeated accusations regarding both Jasha and myself, gave me the inevitable impression that she was

11   seeking to discretely but purposefully remind me that she was seeking to control my adult son’s life

12   and career. True and correct copies of these emails are attached to the Complaint as part of Exhibit

13   “F” thereto.

14          14.     In 2019, and continuing into 2020, various Instagram accounts would “tag” my

15   personal Instagram account in various comments or invite me to “follow” them. Through the context

16   of the comments, their names, their posts, and through information from my son Jasha, I came to

17   determine that these accounts were likely under the control or direction of Michaela Higgins/Caeli and

18   Doe Defendants. An example of this is a tag on my Instagram account from “fuckthekkkops”, a true

19   and correct copy of the notification of which is attached as part of Exhibit “F” to the Complaint. I am

20   informed and believe that the Instagram account “@fuckthekkkops” was under the control of Michaela

21   Higgins and Doe Defendants and has now been deleted from Instagram.

22          15.     These messages include but are not limited to allegations that Jasha Tull was a ‘serial

23   rapist’, had substance abuse issues, and should be pressed or compelled to receive rehabilitation

24   treatment. I have had no basis of knowledge to validate such claims and reacted to them with both

25   incredulity and distress. My frequent interactions with my son, including while living together and

26   during bi-annual family vacations, provided no indication that Jasha had a substance abuse problem.

27   The frequency of these messages, along with the disturbing character of both their content and the

28   pseudonymous names themselves, caused to me to severely restrict my social media presence, which I

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 1   did with great regret. I am informed and believe that prior to my retirement in 2019, several of my

 2   students had read about the allegations on Instagram, which I have reason to believe is through both

 3   their general knowledge of my son and because my account was tagged in various posts.

 4           16.    I am informed and believe that in the summer of 2020, an Instagram account with the

 5   name and/or ‘handle’ “@evidenceagainstspacejesus” was created on the platform.

 6           17.    The “@evidenceagainstspacejesus” Instagram account admits that it is controlled by

 7   the Instagram account “@caelila”, later changed to “@caelislaysdemons”, which is known to me as

 8   the personal Instagram page of Michaela Higgins. A true and correct copy of the bio for this account is

 9   attached to the Complaint as part of Exhibit “H” (Admissions of Control of Social Media Accounts &

10   Objectionable Posts).)

11           18.    The Twitter account “@caelila”, which is known to me as the personal Twitter account

12   of Michaela Higgins i, has also admitted to controlling the “@evidenceagainstspacejesus” Instagram

13   Account. (See Exhibit “H”.) The account “@evidenceagainstspacejesus” invited me to follow their

14   page.

15           19.    Upon information and belief, the Instagram account “@fuckthekkkops” was under the

16   control of Michaela Higgins and Doe Defendants.

17           20.    On or about the Fall of 2020, after previously inviting me to follow their page, the

18   Instagram account “@fuckthekkkops” tagged me in a comment to a post ostensibly regarding “abuse

19   by proxy”, stating “@hermantull please read bc [sic] this def [sic] all applies to you as well.” I took

20   this to reference alleged abuse of her by either myself or my son Jasha Tull, and chose not to respond.

21   (See Exhibit “F”.)

22           21.    The aforementioned facts and circumstances have caused me severe emotional distress.

23   I am frequently worried that Michaela/Caeli will continue these repeated and unwanted

24   communications, which persistently falsely accuse me of making statements I did not make, and which

25   accuse me of either improperly protecting or enabling my son’s alleged sexual misconduct and

26   substance use. This ongoing harassment, along with the prospects that engaging with it further would

27   make even more of an impact on my students and my career, was a significant factor in my choice to

28   retire from teaching in 2019, a profession I loved dearly. Michaela’s statements to and about both me

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 1   and my son led to numerous student inquiries, and I determined it was untenable to engage with or

 2   counteract her unwanted communications without drawing her ire or that of her supporters.

 3          22.     I have been active in my community for decades, volunteering in local educational

 4   organizations, among others, often alongside my wife. In light of my recent retirement and as we enter

 5   a new chapter of our lives, she and I were planning on pursuing additional ways to contribute our time

 6   and effort to our community. Michaela’s false accusations and harassment, along with their spread

 7   through our close-knit social circles and community, have forced us to not reenter and engage with

 8   community life. As we enter a world in which the pandemic subsides and life returns to some sense of

 9   normalcy, particularly as our family looks forward to receiving the vaccination, the prospect for

10   renewal of this harassment and its further spread have severely hampered the likelihood that our lives

11   will also return to that sense of normalcy.

12          23.     Michaela Higgins’ incessant attempts to communicate with me, along with the threats

13   and public postings she has made, have created serious and escalating fears for the physical safety of

14   myself and my family. Her knowledge of our home addresses and my wife and son Dr. Janak Tull’s

15   business, combined with her prior history of confronting my family unannounced, along with her

16   apparent recent public postings a short drive away and with a firearm, all create significant anxiety

17   that she can or will act violently against us. (See Exhibit “I” (Social Media Posts in New York and

18   With a Firearm.) In speaking with my son and reading his emails and text messages, I have become

19   aware of the fact that Michaela Higgins has both directly and indirectly threatened his life, and

20   admitted to threatening him numerous times. (See Exhibit “E” (Jasha and Michaela – Written

21   Communications).) This fear also extends to individuals either under her control or inspired by her, as

22   comments to her social media posts have encouraged violence, at least against my son. (See Exhibit

23   “J” (Threats of Violence from Third Parties).)

24          I declare under penalty of perjury under the laws of the State of California that the foregoing is

25   true and correct.

26          Executed March 4, 2021 at Princeton, New Jersey

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                                                                 Dr. Herman Tull, Ph.D.
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      I am informed and believe that as of the date of this declaration, the page has been removed from
     Twitter.
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